Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 1 of 77




                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

  CENTENNIAL BANK, an Arkansas
  state-chartered bank,

         Plaintiff,
                                                              Case No.: 0:21-cv-60045
  v.

  EVANDER KANE, an individual, and
  SAN JOSE SHARKS, LLC, a
  Delaware limited liability company,

        Defendants.
  ______________________________/


        CENTENNIAL’S RESPONSE TO ORDER TO PERFECT SERVICE (DOC. 4)

         Plaintiff, Centennial Bank, an Arkansas state-chartered bank (“Centennial”), by and

  through its undersigned counsel of record, hereby responds as follows to this Court’s “Order to

  Perfect Service” (the “Order to Perfect Service”) [Doc. 4], entered by this Court on February 16,

  2021, pursuant to which this Court orders Centennial to perfect service upon Defendants or show

  good cause as to why the complaint should not be dismissed for failure to perfect service of

  process.

         On January 7, 2021, Centennial initiated this Action by filing the “Complaint” (the

  “Complaint”) [Doc. 1] seeking certain in personam relief as against Evander Kane (“Kane”) and

  equitable relief as against both Kane and San Jose Sharks, LLC (the “Sharks”).

         Prior to the initiation of this Action, counsel for Kane had agreed to accept service of

  process on behalf of Kane. However, after the Complaint was filed with this Court, Kane’s counsel

  retracted from his prior agreement and representation. Instead, on January 9, 2021, Kane sought

  chapter 7 protection under the United States Bankruptcy Code by filing a petition (the “Petition”)
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 2 of 77




  in the United States Bankruptcy Court, Northern District of California, San Jose Division, Case

  No.: 5:21-bk-50028 (the “Kane Bankruptcy”).                A copy of the Petition initiating the Kane

  Bankruptcy is attached hereto as Exhibit “A.”

          It has become apparent that, despite knowledge of this Action, as evidenced by the

  Bankruptcy Schedules filed in the Kane Bankruptcy and discussions with Kane’s counsel, that

  Kane has failed to inform this Court of his initiation of the Kane Bankruptcy. Accordingly, and

  contemporaneous with the filing of this response, Centennial has filed a “Suggestion of

  Bankruptcy” (the “Suggestion”) representing that Kane has indeed initiated the Kane Bankruptcy.

          In light of Kane’s initiation of the Kane Bankruptcy, in direct response and only two (2)

  days after Centennial initiated this Action, Centennial is precluded under 11 U.S.C. § 362 from

  taking any further action as against Kane outside of the Kane Bankruptcy by implication of the

  “automatic stay,” including serving Kane with official process. In fact, Kane identified this Action

  as a current pending legal action he is involved in. [Kane Bankruptcy Doc. 1]. 1 And because the

  Sharks are included in this Action in order to ensure the same are bound by any final judgment of

  this Court that would fully enforce Centennial’s security agreement in Kane’s assets, including

  proceeds from any professional ice hockey contract as between Kane and the Sharks, it would be

  perceived a violation of the Automatic Stay for Centennial to take any further action as against the

  Sharks, as the same would be an action of enforcement and to obtain possession of property of

  Kane. See 11 U.S.C. § 362(a)(1), (2), and (3).

          Centennial, along with the chapter 7 trustee and United States trustee appointed in the Kane

  Bankruptcy, are still in the process of evaluating the merits of Kane’s initiation of the Kane

  Bankruptcy. An initial “341 meeting of creditors” was held on February 3, 2021, and continued


  1
   In Kane’s amended Schedule D filed in the Kane Bankruptcy [Doc. 18 therein], Kane identified Centennial’s claim,
  which is the subject of this Action, as a secured, undisputed claim.

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Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 3 of 77




  to February 23, 2021. It is likely that action will be taken that will allow Centennial to proceed

  further in this Action, either by seeking relief from the automatic stay or dismissal of the Kane

  Bankruptcy.

         Based upon all of the foregoing, Centennial respectfully believes that it has shown good

  cause as to why this Action should not be dismissed for failure to perfect service of process, as

  proceedings in this Action are currently stayed by operation of 11 U.S.C. § 362(a).


                                               /s/ Andrew J. Ghekas
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on February 18, 2021, I filed the foregoing with the Clerk of

  the Court using the CM/ECF system, which will provide electronic notice to all counsel of record.

                                                        /s/ Andrew J. Ghekas
                                                        ATTORNEY




                                                  3
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 4 of 77




                EXHIBIT “A”
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 5 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 6 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 7 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 8 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 9 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 10 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 11 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 12 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 13 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 14 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 15 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 16 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 17 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 18 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 19 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 20 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 21 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 22 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 23 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 24 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 25 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 26 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 27 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 28 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 29 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 30 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 31 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 32 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 33 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 34 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 35 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 36 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 37 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 38 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 39 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 40 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 41 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 42 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 43 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 44 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 45 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 46 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 47 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 48 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 49 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 50 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 51 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 52 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 53 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 54 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 55 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 56 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 57 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 58 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 59 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 60 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 61 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 62 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 63 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 64 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 65 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 66 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 67 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 68 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 69 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 70 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 71 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 72 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 73 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 74 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 75 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 76 of 77
Case 0:21-cv-60045-RAR Document 5 Entered on FLSD Docket 02/18/2021 Page 77 of 77
